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                        UNITED STATES DISTRICT COURT                           D]ST^CT%f^^LlRE
                          DISTRICT OF NEW HAMPSHIRE

                                                                           JAN 18 201?.
United States of America                                                       FILED

     v.                                    Crim. No.         Q C ^ r ^ fcV fo- ^ L




                      ORDER ON VIOLATION OF CONDITIONS

     The defendant appeared before me on this date at a LASER
Review Hearing. During the course of the hearing, the court
determined that the defendant has violated the terms of the LASER
Agreement/Order on Conditions of Release. As a result, the court
enters the following order:


              The defendant shall be detained ^aRtil        &%^%£Zs3p«
              At the conclusion of incarceration, defendant shall be

                      Brought before the undersigned judge

                      Released on
                                            [DataT                    [Time]



              The defendant shall reside in Hampshire House for a
              period of         days/months to commence on
                                 , and shall observe the rules of
              that facility.


              The defendant shall be placed on home detention for
                    days/months, to commence on                  .
              During this time, the defendant shall remain at his
              place of residence except for employment and other
              activities approved in advance by the probation
              officer. The defendant shall maintain a telephone at
              his place of residence without any special services,
              modems, answering machines, or cordless telephones for
              the above period. The defendant shall wear an
              electronic device and shall observe the rules specified
              by the Probation Office. The defendant shall pay for
              the cost of electronic monitoring to the extent he is
              able as determined by the probation officer.
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            The defendant shall be subject to the following
            additional or modified conditions:




       Prior conditions of release not inconsistent with this order
shall remain in full force and effect.


                                           SO ORDERED


Date
                                           Joseph N / Laplante
                                           Chief jTudge




USDCNH-7 (11/11)


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